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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
    ---------------------------------------------------------X
     IMRAN KHAN, et al.,

                                     Plaintiffs,
                                                                   ORDER
    v.
                                                                   20-CV-07561 (PMH)
     BOARD OF DIRECTORS OF PENTEGRA
     DEFINED CONTRIBUTION PLAN, et al.,

                                       Defendants.
    ---------------------------------------------------------X
     RICHARD GREENBERG, et al.,

                                     Plaintiffs,

    v.

     BOARD OF DIRECTORS OF PENTEGRA
     DEFINED CONTRIBUTION PLAN, et al.,

                                    Defendants.
 ---------------------------------------------------------X
PHILIP M. HALPERN, United States District Judge:

           On September 15, 2020, Imran Khan and Joan Bullock, individually and as representatives

of a class of participants and beneficiaries on behalf of the Pentegra Defined Contribution Plan for

Financial Institutions (the “Khan Plaintiffs”) commenced an action against the Board of Directors

of Pentegra Defined Contribution Plan, John Does 1-12, Brad Elliott, William E. Hawkins, Jr.,

George W. Hermann, Michael N. Lussier, Sandra L. McGoldrick, Pentegra Retirement Services,

Inc., 1 John E. Pinto, and Lisa A. Schlehuber (“Defendants”) (the “Khan Case”). (Doc. 1). The

Khan Plaintiffs are represented by Schlichter Bogard & Denton, LLP (the “Schlichter Firm”).




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 On October 16, 2020, the Court “So Ordered” the parties’ stipulation by which, inter alia, Defendants
consented to the Khan Plaintiffs filing an Amended Complaint to correct the name of this defendant to
Pentegra Services, Inc. (Doc. 40). That Amended Complaint was filed on October 23, 2020. (Doc. 53).

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          On October 13, 2020, Richard Greenberg, Gregory S. Digsby, Lindsey Clark, and Chrystal

Lewis, individually and on behalf of all others similarly situated (the “Greenberg Plaintiffs”)

commenced an action against some, but not all, of the Defendants in the Khan Case (the

“Greenberg Case”). (Greenberg Doc. 1). 2 The Greenberg Plaintiffs are represented by Capozzi

Adler, P.C. (the “Capozzi Firm”).

          On November 20, 2020, Defendants filed letters seeking the consolidation of the Khan

Case and the Greenberg Case. (Doc. 56; Greenberg Doc. 25). On November 23, 2020, Defendants

filed a letter seeking a pre-motion conference in connection with an anticipated motion to dismiss

the Khan Case (Doc. 59), and on November 25, 2020, the Khan Plaintiffs filed a letter in opposition

thereto (Doc. 65). The Khan Plaintiffs also filed a letter opposing Defendants’ request to

consolidate the Khan Case and the Greenberg Case (Doc. 64), as well as a motion to appoint the

Schlichter Firm as interim lead class counsel (Doc. 60; Doc. 61, “Schlichter Br.”). On November

27, 2020, the Greenberg Plaintiffs filed their response to Defendants’ request to consolidate,

advising of their position that consolidation of the two cases would be appropriate. (Greenberg

Doc. 28). The Greenberg Plaintiffs also sought the Court’s permission to move for the appointment

of the Capozzi Firm as interim lead class counsel. (Id.). On December 3, 2020, with permission

from the Court, the Capozzi Firm filed a letter in opposition to the Schlichter Firm’s motion to be

appointed interim lead class counsel. (Greenberg Doc. 32).

          On December 11, 2020, the Court held a pre-motion telephone conference to discuss

Defendants’ request to consolidate, the Schlichter Firm’s pending motion, the Capozzi Firm’s

anticipated motion, and Defendants’ anticipated motion to dismiss. The Court construed

Defendants’ pre-motion letter for permission to move for consolidation as a motion to consolidate,



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    References herein to documents filed in the Greenberg Case shall be cited as “Greenberg Doc.”

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and having considered the written responses thereto by the Khan Plaintiffs and the Greenberg

Plaintiffs, and the parties’ arguments at the conference, the Court granted consolidation, directed

the filing of a Consolidated Amended Complaint, and directed Defendants to, after receipt of the

Consolidated Amended Complaint, file a new pre-motion conference letter, advise the Court if

they intended to press their original pre-motion conference letter, or file an answer. (Doc. 72). The

Court also set a briefing schedule for the Capozzi Firm to move for appointment as interim lead

class counsel or co-counsel, as well as opposition to the motions. (Id.).

       On December 18, 2020, the Greenberg Plaintiffs filed their cross-motion (Doc. 73; Doc.

73-1, “Capozzi Br.”); and on December 28, 2020, Defendants filed their opposition to the

competing motions (Doc. 75) and the Khan Plaintiffs filed their opposition to the Greenberg

Plaintiffs’ motion (Doc. 76). The Khan Plaintiffs and Greenberg Plaintiffs filed their Consolidated

Amended Complaint on December 28, 2020 (Doc. 74), and on January 11, 2021, Defendants

advised that they sought to press their motion to dismiss on the grounds stated in their earlier letter,

as well as on additional grounds (Doc. 79). On January 19, 2021, the Schlichter Firm filed a

response to Defendants’ letter (Doc. 80). It does not appear that the Capozzi Firm filed a response

to Defendants’ pre-motion letters. The Court held a pre-motion telephone conference on February

16, 2021, granted Defendants leave to file a motion to dismiss, and set a briefing schedule for such

motion. (See Feb. 16, 2021 Min. Entry).

       Ripe for this Court’s review are the competing motions to be appointed as interim lead

class counsel filed by the Schlichter Firm and the Capozzi Firm. Federal Rule of Civil Procedure

23 (“Rule 23”) requires a court to determine at an “early practicable time” whether to certify a

class and, if so, to appoint class counsel. “Because representation of a putative class prior to the

filing of a motion for class certification is sometimes necessary, Rule 23(g)(3) permits a court to



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appoint interim class counsel.” Anderson v. Fiserv, Inc., No. 09-CV-8397, 2010 WL 571812 at *2

(S.D.N.Y. Jan. 29, 2010).

        In selecting interim class counsel, courts have looked to the criteria for determining the

adequacy of class counsel set forth in Rule 23(g)(1)(A), which include: (i) the work counsel has

done in identifying or investigating potential claims in the action; (ii) counsel’s experience in

handling class actions, other complex litigation, and the types of claims asserted in the action; (iii)

counsel’s knowledge of the applicable law; and (iv) the resources counsel will commit to

representing the class. See e.g. In re Bank of Am. Corp. Secs., Derivative & ERISA Litis., 258

F.R.D. 260, 272 (S.D.N.Y. June 30, 2009); In re HSBC Bank USA, N.A., Debit Card Overdraft

Fee Litig., No. 12-CV-5696, 2013 WL 3816597, at *10-13 (E.D.N.Y. July 22, 2013).

        If only one applicant seeks appointment as class counsel, a court must determine whether

the applicant is “adequate” under Rule 23(g)(1) and Rule 23(g)(4), which requires that counsel

“fairly and adequately represent the interests of the class.” However, faced with competing

“adequate” applicants, “the court must appoint the applicant best able to represent the interests of

the class.” Rule 23(g)(2) (emphasis added).

        Although the Capozzi Firm argued alternatively that it should be appointed as interim co-

counsel with the Schlichter Firm (Capozzi Br. at 15-18), both the Schlichter Firm and Defendants

objected to any co-counsel relationship. (See Doc. 75 at 1-5; Doc. 76 at 18-21). The Court finds

that due to the “fundamental historical and philosophical differences” between the two firms (Doc.

76 at 5), and as evidenced by the competing motions herein, a co-counsel relationship would be

inefficient; thus, appointing a single firm best serves the interests of judicial economy while

protecting the interests of the putative class.




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        Based upon the information provided by counsel in the competing submissions, the Court

finds that both firms have devoted substantial time and effort to identifying and investigating the

claims raised herein. In addition, both firms have significant experience with complex class action

litigation, and each possess knowledge of the applicable law.

        As to the Capozzi Firm’s willingness to commit resources to represent the proposed class,

it states that it “has the ability and willingness to expend the financial and manpower resources

necessary to prosecute this litigation,” and their “Fiduciary Practice Group is comprised of three

partners, . . . two associates, and five support staff” (Capozzi Br. at 13), but beyond the five lawyers

it indicates are in the Fiduciary Practice Group, the Capozzi Firm would avail itself also of the

services of other attorneys in their Pennsylvania offices (id.). The Schlichter Firm, on the other

hand, “has a fully dedicated team of [thirteen] attorneys . . . in the [Schlichter Firm’s] retirement

litigation practice group.” (Schlichter Br. at 21). For these reasons, the Court finds that the

Schlichter Firm has greater attorney resources in the particular practice area to represent the class

in this consolidated action. In addition, the Court notes that only the Schlichter Firm responded to

Defendants’ pre-motion letters (Docs. 65, 80), signifying that they have already begun to prepare

to defend against Defendants’ forthcoming motion to dismiss.

        Considering the totality of the circumstances, the Court concludes that the Schlichter Firm

is the more appropriate choice to serve as interim lead class counsel, in light of the number of

attorneys dedicated to 401k excessive fee litigation who are committed to work on this matter, and

the fact that the Schlichter Firm handled the precatory work in connection with the anticipated

motion to dismiss by Defendants.




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                                         CONCLUSION

         Based upon the foregoing, the Schlichter Firm’s motion to be appointed as interim class

counsel is GRANTED and the Capozzi Firm’s cross-motion to be appointed interim class counsel

or co-counsel is DENIED.

         The Court therefore Orders that Schlichter Bogard & Denton, LLP is appointed as

interim class counsel under Federal Rules of Civil Procedure 23(g)(2) and (3).

         The Clerk of the Court is respectfully directed to terminate the pending motion (Doc. 60).

                                                  SO ORDERED:

Dated:     White Plains, New York
           February 18, 2021

                                                 PHILIP M. HALPERN
                                                 United States District Judge




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